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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              WESTERN DIVISION

  JEREMY WASHINGTON,                              )
                                                  )
                 Plaintiff,                       )
                                                  )   Case No. 20-cv-50390
                                                  )
           v.                                     )
                                                  )   Honorable Judge Iain D. Johnston
  MICHAEL CONLEY, et al.,                         )   Honorable Judge Margaret J. Schneider
                                                  )
                 Defendants.                      )

                 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
                FOR LEAVE TO FILE SECOND AMENDED COMPLAINT

       Defendants, Michael Conley, Jordin Black, Kassandra Marinelli, Benjamin Schlosser,

Danny Martinez, Sr., and Luke Papke by and through their attorney, Kwame Raoul, Attorney

General of the State of Illinois, and hereby respond to Plaintiff’s Motion for Leave to File

Amended Complaint, (Dkt. 99), stating the following:

                                       BACKGROUND

       On October 8, 2020, Plaintiff filed pro-se complaint, alleging violations of his

constitutional rights during his incarceration at Dixon Correctional Center. (Dkt. 1). On June

24, 2021, Defendants filed their answer to Plaintiff’s complaint. (Dkt. 45). On August 17,

2021, Plaintiff’s current counsel entered their appearance. (Dkt. 53). On October 27, 2021,

Plaintiff’s counsel propounded Plaintiff’s First Set of Requests for Production of Documents.

On December 3, 2021, then Defense-counsel served Defendants’ responses and produced

4,556 pages of documents. Thereafter, the parties agreed to amend pleadings to add

additional defendants or counts on or by April 29, 2022. (Dkt. 55). On April 29, 2022, Plaintiff,

through counsel, filed a First Amended Complaint. (Dkt. 68). On June 8, 2022, Defendants

Conley, Black, Marinelli, Schlosser, Martinez, and Papke filed their answer to Plaintiff’s
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First Amended Complaint. (Dkt 77). Defendants Sonja Nicklaus and Administrative Major

Kemmerman were named in Plaintiff’s First Amended Complaint (Dkt. 77), but the docket

does not reflect that these individuals were ever served or filed an answer1. Plaintiff’s

allegations arise from a cell extraction that occurred at Dixon Correctional Center on January

23, 2020. (Dkt. 77).

        The parties engaged in additional discovery and Defendant’s then-counsel produced

an additional 2,227 pages of documents. On October 12, 2023, the undersigned counsel

entered her appearance in this matter. (Dkt. 82). From November 28, 2022 to January 18,

2023, the undersigned counsel produced additional policies and procedures – an additional

99 pages. On July 17, 2023, Defendants responded to Plaintiff’s Second Set of Requests for

Production and produced 353 pages. Plaintiff is now seeking to amend his Complaint for the

second time because “Plaintiff has learned substantial new facts and Defendants have made

significant disclosures indicating the identifies of additional individuals. (Dkt. 99, pg. 2).

Contrary to Plaintiff’s assertion, the names of the newly added Defendants have been

available to Plaintiff since December 3, 2021. As such, Plaintiff’s motion should be denied

because he was not diligent in seeking amendment and good cause does not exist.

                                       LEGAL STANDARD

        Generally, motion for leave to amend a complaint is evaluated under Federal Rule of

Civil procedure 15(a)(2). Alioto v. Town of Lisbon, 651 F.3d 715, 719 (7th Cir. 2011). However,

the question of whether to allow a plaintiff to amend their complaint after the deadline for

amendment of pleadings has expired must be evaluated under Rule 16(b). Fed. R. Civ. P.

16(b)(4) (“A schedule may be modified only for good cause and with the Court’s consent”); See

Trustmark Ins. Co. v. Gen. & Cologne Life Re of America, 424 F.3d 542, 553 (7th Cir. 2005)


1
 Pursuant to Fed. R. Civ. Pro. 4(m), Defendants Sonja Nicklaus and Administrative Major Kemmerman should
be dismissed from this action.

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(“To amend a pleading after the expiration of the trial court’s Scheduling Order deadline to

amend pleadings, the moving party must show ‘good cause’”); Adams v. City of Indianapolis,

742 F.3d 720, 734 (7th Cir. 2014). Rule 16(b)(4) requires that courts first apply a heightened

standard of “good-cause” in order to modify the scheduling order. See Alioto, 651 F3d at 719.

The heightened good cause standard of Rule 16(b)(4) is applied before considering whether

the requirements of Rule 15(a)(2) are satisfied. Alioto, 651 F.3d at 715. A court need not

consider whether 15(a)(2) is satisfied when the court has determined that good cause does

not exist. see Travelers Prop. Cas. Co. of Am. v. DISH Network, L.L.C., 12-cv-3098, 2016 WL

1170899, at *5 (C.D. Ill. Mar. 24, 2016).

       “In making a Rule 16(b) good-cause determination, the primarily consideration . . . is

the diligence of the party seeking amendment.” Wilson v. Jones, 16-cv-4025, 2018 WL

2158763, at *3 (C.D. Ill. May 10, 2018) (quoting Trustmark Ins. Co., 424 F.3d at 553). “Relief

is not warranted if the party seeking it has not acted diligently, if it is sought because of

attorney neglect or inadvertence, or if the party seeking it has failed to satisfactorily explain

delays that led to the need for modification of the scheduling order.” Id. In cases where courts

have found good cause, the moving party sought to amend the complaint within days of

discovery of new information or evidence. See Ewalt v. Collection Professionals. Inc., 19-cv-

4023, 2019 WL 5727578, at *2 (C.D. Ill. Nov. 4, 2019) (“[t]he fact that Plaintiff’s counsel

sought to amend only days following the recipe of that new information is certainly the type

of diligence contemplated by Rule 16(b)(4)”). Courts have also held that “[l]ack of prejudice

or surprise to the nonmoving party is insufficient to establish good cause under Rule 16(b).”

DR Distributors, LLC v. 21 Century Smoking, Inc., 12-cv-50324, 2019 WL 556496, at *4 (N.D.

Ill. Feb. 12, 2019).




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                                       ARGUMENT

   A. Good cause cannot be established because Plaintiff offers no explanation
      for the extensive delay in seeking amendment.

       Plaintiff’s motion seeks leave to file his proposed Second Amended Complaint sixteen

months after the deadline to amend pleadings and join additional parties has passed. (Dkt.

55, Dkt. 99). Courts have found that good cause does not exist when the moving party seeks

to amend a complaint months after the deadline has passed. See Arriogo v. Link, 836 F.3d

787, 797 (7th Cir. 2016) (affirming the denial of leave to amend four months after the

deadline); Bell v. Taylor, 827 F.3d 699, 706 (7th Cir. 2016) (eight months); Adams, 742 F.3d

at 734 (six months); Alioto, 651 F.3d at 720 (eight months); Wilson, 2018 WL 2158763, at *3

(eight months). Delays of five, seven, ten months demonstrate a lack of diligence. Wilson,

2018 WL 2158763, at *4. Here, Plaintiff offers no explanation for the extensive delay in

seeking an amendment to his pleadings. Instead, Plaintiff vaguely refers to learning “new

facts” during the course of discovery and after Defendants’ disclosures. (Dkt. 99). However,

such a vague assertion cannot justify the sixteen-month delay or attempt to explain why an

amendment was not sought before the April 29, 2022 deadline. “The Seventh Circuit has

repeatedly affirmed denials of motions for leave to amend where the plaintiff offered an

insufficient explanation for [the] delay.” Abdallah v. FedEx Corp. Services, Inc., 16-CV-3967,

2019 WL 4464305, at *4 (N.D. Ill. Sept. 18, 2019). This Court must find that Plaintiff has not

shown good cause to amend because he offers no substantive explanation in the sixteen-

month delay in seeking an amendment.

   B. Good cause cannot be established because Plaintiff was aware of the
      involvement of the proposed defendants before the deadline had passed.

       In the proposed Second Amended Complaint, Plaintiff seeks to add Correctional

Officer Brent Porter, Correctional Lieutenant Colton Love, Correctional Sergeant

Christopher Wheeler, and Correctional Registered Nurse Katherine Emmons. (Dkt, 99, pg.
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2). In support of his motion, Plaintiff avers that the names of these individuals and their roles

in the incident were recently discovered during the course of discovery. Id. Plaintiff’s claim

is not complicated. In a nutshell, Plaintiff alleges that on January 23, 2020 Defendants used

excessive force against him during a cell extraction. Plaintiff now seeks to add four additional

defendants, based on the fact that these defendants interacted with Plaintiff immediately

before or immediately after the cell extraction that give rise to this instant Complaint. While

Plaintiff claims to have learned “substantial new facts” from Defendants “significant

disclosures” (Dkt. 99, pg. 2), he fails to acknowledge that he was aware of the involved of each

of the four proposed defendants before the deadline to amend the pleadings or join additional

parties had passed.

       On December 3, 2021, Defendants produced 4,556 pages of documents in response to

Plaintiff’s First Set of Requests for Production. (See Exhibit 1, Defendants’ Responses to

Plaintiff’s First Set of Requests for Production). As a part of this production, Defendants

served Plaintiff with the Internal Affairs Investigation Report and Incident Reports. (Exhibit

2 and Exhibit 3). The Internal Affairs Investigation Report and Incident Reports both provide

the first and last names of the newly proposed defendants and delineates their roles or

involvement in the cell extraction of January 23, 2020. (Ex. 2, 3). As such, Plaintiff had this

information available to him as early as December 3, 2021, which was fourth months before

the deadline to amend the pleadings or join additional parties. And yet, Plaintiff offers no

explanation why he did not seek to amend his complaint before the deadline passed when he

possessed all the necessary information to do so. As the deadline to amend the pleadings

approached, Plaintiff “could and should have moved for an extension” if he wished to preserve

the opportunity to amend the pleadings or join additional parties. See Adams, 742 F.3d at

734.



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       Courts have found that a contention that a party has been “diligent is unavailing”

when the party has the all the information necessary for amendment prior to the deadline.

See MAO-MSO Recovery II, LLC v. State Farm Mut. Auto. Ins. Co., 17-CV-1537, 2019 WL

6311987, at *9-10 (C.D. Ill. Nov. 25, 2019). “Rule 16(b) is intended in part to ‘prevent parties

from delaying or procrastinating and to keep the case moving toward trial.’” Abdallah, 2019

WL 4464305, at *4 (finding that plaintiff fell short of the good cause standard because he did

not explain why he did not act sooner). Thus, this Court must find that Plaintiff fails to

establish good cause under Rule 16(b) because he had all the information necessary for

amendment before the deadline to amend the pleadings or join additional parties had passed.

   C. Amendment would be futile because the statue of limitations bars Plaintiff’s
      claims against the newly proposed Defendants.

       Plaintiff’s claims against the newly proposed defendants are time-barred by the

applicable statute of limitations. “The Supreme Court held that actions under §1983 should

be characterized as personal injury claims, and, as such, were governed by the personal injury

statute of limitations in the state where the alleged injury occurred.” Wilson v. Giesen, 956

F.2d 738, 740 (7th Cir. 1992) (citing Wilson v. Garcia, 471 U.S. 261, 279 (1985)). “Civil rights

claims, therefore, accrue when the plaintiff knows or should know that his or her

constitutional rights have been violated.” Id. the Seventh Circuit has held that “§1983 cases

arising in Illinois are governed by the two-year statute of limitations on personal injury

claims.” Id. at 741 (citing Kalimara v. Illinois Department of Corrections, 879 F.2d 276, 277

(7th Cir.1989)). “The statute of limitations begins to run upon the discovery of the injury,

even if the full extent of the injury is not discovered until much later … Were it not for this

rule, the statute of limitations might be extended indefinitely—perhaps even to death, since

until then it is always possible that the plaintiff's injury will worsen.” Goodhand v. United

States, 40 F.3d 209, 212 (7th Cir. 1994). In this instant matter, the statue of limitations period


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ended on January 23, 2022 because Plaintiff’s alleged injuries arise from a cell extraction

that occurred on January 23, 2020. Therefore, any amendment to add additional parties

would be futile.

       WHEREFORE, for the above and foregoing reasons, Defendants respectfully request

this honorable Court deny Plaintiff’s Motion for Leave to file a Second Amended Complaint.

Dated: September 12, 2023.



                                                 Respectfully Submitted,
KWAME RAOUL,
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                              CERTIFICATE OF SERVICE

        I hereby certify that on September 12, 2023 the foregoing document was electronically
filed with the Clerk of the Court using the CM/ECF system. The following participants were
served via the Court’s EM/ECF system:



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                                                  __/s/ Simerdeep Kaur_________

                                                     SIMERDEEP KAUR




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